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                               IN THE UNITED STATES DISTRICT
                             COURT FOR THE NORTHERN DISTRICT
                                  OF TEXAS DALLAS DIVISION

IRONCLAD PERFORMANCE WEAR                             §
CORPORATION,                                          §
                                                      §
          Plaintiff,                                  §                 No. 3:15-cv-03453-D
                                                      §
v.                                                    §
                                                      §
ORR SAFE1Y CORPORATION,                               §
                                                      §
          Defendant                                   §

                             DECLARATION OF JEFFREY CORDES

     I, Jeffrey Cordes, declare as follows:

     1. My name is Jeffrey Cordes. I am over 18 years of age, and I have personal knowledge of the

        facts stated below. If called and sworn as a witness, I would be competent to testify to each

        of them.

     2. Late evening on June 1, 2016, though I do not recall when, I checked my emails from my

        laptop computer while at my home.

     3. During that session, I opened an email from Daniel Charest that contained a link and some

        text (the "Link Email''). A redacted version of the Link Email is attached as Exhibit C. Also

        during that session, I clicked the link in the Link Email and downloaded a ZIP file from a

        web-based file-sharing site (the "Sharefile"). To the best of my memory, I did not open any

        of the files contained within the Sharefile. If I opened any (which I do not recall), I do not

        recall the contents of any of the materials contained in the Sharefile. The context of the

        email and the files within the Share:file caused me to become concerned that I should not

        have received the materials contained in the Sharefile. I ended the session, closed the ZIP

        file, and did not explore the Sharefile materials thereafter.



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 4. While I do not recall accessing the email, I understand that I also received another email

    with an attachment from Mr. Charest (the "Attachment Email"). And I understand that the

    Attachment Email contained, as an attachment, a word document (the "Outline''). But I do

    not recall opening the Attachment Email or the Outline. And I have no memory of the

    content of either the Attachment Email or the Outline.

 5. In the morning of June 2, 2016, I reported to Bill Aisenberg that I had received the

    Attachment Email and/ or the Link Email and that, based on my observation of the content,

    I was concerned that the Sharefile materials should not have been provided to me because of

    the AEO designations and, as a result closed the Sharefile materials. I instructed Mr.

    Aisenberg to contact Mr. Sherman to follow up on the potential issue.

 6. In the morning of June 3, 2016, Mr. Aisenberg confirmed that Mr. Sherman had instructed

    Mr. Aisenberg that Mr. Aisenberg and I should not to access the materials in question. I

    understood,   through Mr. Aisenberg, that I should not access and should delete the

    Attachment Email, the Llnk Email, and any materials related to either email.

 7. On June 3, 2016, at 11:04 AM CDT, I received an email from Mr. Sherman (the "First

    Notice'') telling Mr. Aisenberg and me both to "immediately delete such e-mail or e-mails,

    delete any materials that may have been downloaded off of those e-mails including the link,

    delete any notes (if any) that may have been made relating to such materials." A copy of the

    First Notice is attached as Exhibit E.

 8. To follow Mr. Sherman's instruction, I "double" deleted the materials I had downloaded

    from the Sharefile by deleting them from my download folder and then deleting them from

    my trash folder. I also "single" deleted both the Attachment Email and the Link Email from

    my inbox. I did not delete the emails from my trash folder because of the litigation hold on

    email deletions.



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    9. On June 7, 2016, at 7:41 PM CDT, Mr. Sherman sent Mr. Aisenberg and me another email

        (the "Second Notice"), focused on the Outline in the Attachment Email, to confirm that, to

        the e..'tteat we had not yet done so, Mr. Ai.~eaberg and I should ''immediately delete this e-

        lDllil,delete any materials that may have been dO\vnloaded off of those emails including the

        attachment, delete any notes (if any) that may have been made relating to such materiak"     By

        the time I received the Second Norice, f had already addressed both emails as described

        above.

    t 0. Aside from briefly reviewing the materiah that I downloaded from the Sharefile as described

        above, I did not access the materials in question. To the best of my memor.y, I acce88ed

        these materials on my work laptop computer. Similarly,to the best of my memory, I did not

        access these materials from any ocher device.

    t 1. At no time did I forward or otherwise disseminate the Link Email, the Sharefile materials, or

        the Attachment Email (or it8 attachment). At no time did I print or save these materials. At

        no time did I make any notes or othenv:ise copy the information contained v.rithinthese

        materials. I have no specific memory of the contents of these materials including, in

        particular, the Outline or the materials downloaded from the Sharefile.

    12. I ,vas a,vare of tb.e protective order in this case. At no time did I intend co deviate from the

        order. Nor do I bclic1,e I did. When we became awa.i:eof the existence of potential AEO

        materials, the Ironclad management team, J.\.1r.
                                                      Aisenbei:g and my8df, rcpo~d         the i88Ueto

        counsel   a,;   de8cribed above. Since then, I have not accessed the materials in question and

        have participated in the effott to track down di.e AEO materials and ensw:e they are

        recovered.

I declare under penalty of perjury under the la,vs of the l:nited States of America that the foregoing

is true and co.erect



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Signed:June 17, 2016




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